
31 N.J. 538 (1960)
158 A.2d 330
THE STATE OF NEW JERSEY, PLAINTIFF,
v.
ERNEST GRAZIANI, ET ALS., DEFENDANTS-APPELLANTS.
The Supreme Court of New Jersey.
Argued February 8, 1960.
Argued February 9, 1960.
Decided February 22, 1960.
Mr. John E. Toolan and Mr. Sam Denstman argued the cause for the appellants (Messrs. Toolan, Haney &amp; Romond, attorneys).
Mr. Sanford M. Jaffe argued the cause for the respondent (Mr. Brendan T. Byrne, attorney).
PER CURIAM.
The judgment is affirmed for the reasons expressed in the majority opinion of Judge Freund in the court below.
For affirmance  Chief Justice WEINTRAUB, and Justices BURLING, JACOBS, FRANCIS, PROCTOR, HALL and SCHETTINO  7.
For reversal  None.
